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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Sibasthon Tre Holybear,               )       Case No. 1:21-cr-235
                                      )
               Defendant.             )


       On November 16, 2023, the court issued an order amending Defendant’s release conditions

to permit him to transition to and reside at Blessed Builders upon his anticipated discharge from the

Prairie Recovery Center on November 21, 2023. (Doc. No 261).

       On November 20, 2023, Defendant filed a Motion to Amend Release Conditions. (Doc. No.

262). He advises that he was recently informed that he cannot reside at Blessed Builders due a

conflict with another of Blessed Builders’ residents. Advising that he has been accepted into Seeds

of Eden, a sober living facility in Washburn, North Dakota, he requests that the court amend its

November 16, 2023, and allow him to transition to and reside at Seeds of Eden.

       The court GRANTS Defendant’s motion (Doc. No. 262) and modifies Defendant’s release

conditions as follows. Upon completing his treatment programming at the Prairie Recovery Center,

Defendant shall report to and reside at Seeds of Eden. Defendant shall not change his residence

without the prior permission of the Pretrial Services Office. Defendant shall comply with all of

Seeds of Eden’s rules and regulations and participate in its programming. Defendant otherwise

remains subject to all of the release conditions previously imposed by the court.




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IT IS SO ORDERED.

Dated this 21st day of November, 2023.

                            /s/ Clare R. Hochhalter
                            Clare R. Hochhalter, Magistrate Judge
                            United States District Court




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